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                                 m THE I r n I - r m STATES U I S T ~ ALouR-r      ,*--

                                 FOR THE NORTHERN DISTRICT,yF C)HIRl 2: 1 1
                                                                05 JdL I




United Stater;o f America,                                  Case No. 1:06 CR184

                                                            Judge Sulomon Oliver

                                                            Magistrate Judge David S. Perelman

Hector Nioves ,                                             REPORT AND RECOMMENDED
                                                            DECJSION
                   Defendant .

        Pursuant to General Clrder 99-49. this matter having been rdcrrcd to United States Magistrate

Judge David Perclrriar~for purposes of receiving, on consent of the parties, the defendant's orPcr of a plea

of guilty, conducting the colloquy prescribed by Fed. R. Crim. P. 1 1, causing a verbatim rccord o f the
proceedings to be prepared, referring the matter, if appropriate, for presentrncc investigation, and

submitting a Magisrrarc Judge's Report and Rccommendatian stating whether thc plen should be accepted

and a finding of guilty entered, the fullowing, along with the transcript or other record of the proceedings

subrnittzd herewith, constilutcs the Magistrate Judge's Repurl and Recommendation concerning the plen

of gui lty proffered by t hc det'sndant.

              1.     On 7117106 the defendant, accornpanied by counsel, profrercd a plea of
                     guilty.

              2.     The defindant was examined as to hishcr competency to
                     participate in a plea proceeding and was Ibur~dto he competent.

              3.     The defendant was advised as tu the nature and elements of the
                     chargels1 contained in the indic,tmcnt!infortnation, the maximum
                     possible sentence consequent thereto.

              4.     We/She was advised of the rights to: (a) tender a plea of not guilty
                     or stand upon such a plea previousIy entered: (b) to trial, by jury or
                     by judge: (c) to representation by counsel, including appointed
                     counsel, at all stages ofthe proceedings; (d) at trial to confront and
                     cross-examine adversc witnesses. to present witnesses and to
                     compel their presence, and to stand upon or waive the privilege
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                   against self-incrimination, and that if a plea of guilty or nolo
                   contendre was to be accepted each of those rights would be
                   waived,

             5.    That the government would have the right, in a prosecution for
                   perjury or a false statement, to usc any statement helshe gives
                   under oath.

             6.    That the lcms of'any provision in a plea agreement waiving the
                   right to appeal or collaterally attack hisher conviction[s] and
                   sentence[s] thereon will be binding.

             7.    'The parties and counsel informed the court about any plca
                   agreement between the parties, the undersigned was advised that,
                   aside from such agreement as described ur submitted to thc court,
                   no other commitments or promises have been madc by any pasty,
                   and no other agreements, written or unwritten, have been made
                   bctwccn the parties.

             8.    The undersigned questioiied the defendant under oath about the
                   knowing, intelligent, and voluntary nature nf the plea of guilty, and
                   finds that the defendant's plea was offered knowingly, intelligently,
                   and voluntarily.

             9.    The parties provided the undersigned with sufficient information
                   abuut the charged offcnsc(s) and the dekndant's cunduct to
                   establish a hctual basis for thc plea.

        In light of the foregoing and the record submitted herewith, the undersigned finds that the

defendant's plea was knowing, intelligent, and voluntary, and that all requirements imposed by the United

States Constitution and Fed. R. Crim. P. I 1 have been satisfied. Therefore, the undersigned recommends

that thc plea of guilty bc acceptcd and a finding of guilty be entered by the Court.




                                                         DAVID S. PEKl-;I .MAN
                                                         United States Magistrate Judge

DATE: July 17,2006
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                                              OBJECTIONS


         Any objections to this Report and Recommended Decision must be filed with the Clerk of Courts
within ten (10) days of receipt of this notice. Failure to Gle objections within thc specified time waivcs
                                                                  v. Wnltcrs, 638 F.2d 947 (6th Cir. I 98 1).
the right to appeal the District Cuurt's order. See, U~ziteriSlute~r
See, nlso, Thomas I: .Im,474 U.S. I 40 (1 9851, reh 'g rienied, 474 U.S. 1 1 11 (1 'j8tj).
